Case 1:20-cv-04662-HG-PK Document 47 Filed 10/28/21 Page 1 of 3 PageID #: 427




UNITED STATES DISTRICT COURT
EASTERN DISTRICT OF NEW YORK
---------------------------------------------------------x
                                                          :
 KALMAN ROSENFELD, individually and                       :
 on behalf of all others similarly situated,              : No.: 1:20-cv-04662-FB-PK
                                                          :
                            Plaintiff,                    :
                                                          :
 v.                                                       : AMENDED STIPULATED
                                                          : PROTECTIVE ORDER
 AC2T, INC.                                               :
                                                          :
                            Defendant.                    :
                                                          :
---------------------------------------------------------x

       WHEREAS Plaintiff Kalman Rosenfeld (“Plaintiff”) and Defendant AC2T, Inc.

(“AC2T,” and together with Plaintiff, the “Parties”) entered into a protective order that was so

ordered by the Court on April 23, 2021 (the “Protective Order”);

       WHEREAS Plaintiff has requested from AC2T discovery of materials that include highly

sensitive competitive business information including contracts with distributors and personal

identifying information of consumers;

       WHEREAS AC2T wishes to produce the materials in a way that protects its business

information from disclosure to parties that could use it in ways that may harm AC2T’s business

and compromise its proprietary information, and that protects its consumers’ personal identifying

information;

       WHEREAS the Parties have agreed that redaction of the above-mentioned sensitive

information would be time consuming and cost prohibitive;

       The Parties have stipulated and agreed to supplement and amend the Protective Order as

follows:

           1. “Sensitive Commercial Data” includes contracts with retailers, vendors, buyers,
Case 1:20-cv-04662-HG-PK Document 47 Filed 10/28/21 Page 2 of 3 PageID #: 428




              suppliers, distributors, customers, employees, and laboratories that contain pricing

              terms and other competitively sensitive information.

          2. “Sensitive Personal Data” includes consumer names, home addresses, images of

              consumer homes, phone numbers, and e-mail addresses.

          3. Pursuant to paragraph (d) of the Protective Order, any person who is not a party or

              an attorney for a party shall be required to sign an agreement and be bound by this

              Amended Stipulated Protective Order, attached hereto as Exhibit A, before being

              provided with any documents that are designated “confidential.”


Dated: New York, New York
       October 28, 2021

VENABLE LLP                                         BURSOR & FISHER, P.A.


By: /s/ Edward P. Boyle                             By: /s/_Yitzchak Kopel
        Edward P. Boyle                                     Yitzchak Kopel
        Anna G. Dimon                                       Alec M. Leslie
Rockefeller Center                                  888 Seventh Avenue
1270 Avenue of the Americas                         New York, NY 10019
New York, NY 10020                                  Tel: (646) 837-7150
Tel: (212) 808-5675                                 ykopel@bursor.com
epboyle@venable.com                                 aleslie@bursor.com
agdimon@venable.com
                                                    Attorneys for Plaintiff
Attorneys for Defendant AC2T, Inc.



SO ORDERED                                         Dated: Brooklyn, New York
                                                          October 28, 2021

 Peggy Kuo
_____________________________
Honorable Peggy Kuo
United States Magistrate Judge




                                               2
Case
Case 1:20-cv-04662-HG-PK
     1:20-cv-04662-FB-PK Document
                         Document 45
                                  47 Filed
                                     Filed 10/28/21
                                           10/28/21 Page
                                                    Page 33 of
                                                            of 33 PageID
                                                                  PageID #:
                                                                         #: 424
                                                                            429




                                            EXHIBIT A

                                        DECLARATION

       I, ____________________________, declare that:

       1.      I have read the Protective Order and Amended Stipulated Protective Order

(together, the “Protective Orders”) agreed to by the parties and ordered by the United States

District Court for the Eastern District of New York in the action Rosenfeld v. AC2T, Inc., Civil

Action No. 1:20-cv-04662-FB-PK.

       2.      I understand the Protective Orders and agree to be bound by their terms.

       3.      I will hold in confidence all Confidential Information provided to me.

       4.      I understand that the Confidential Information and my copies or notes relating

thereto may only be disclosed to or discussed with those persons permitted by the Protective Orders

to receive such information.

       5.      I will return all Confidential Information in my possession, copies thereof, and

notes that I have prepared relating thereto, to counsel for the party by whom or on whose behalf I

am retained upon the request of such counsel.

       6.      I understand that a violation of the terms of the Protective Orders may be punishable

by appropriate sanctions and may be treated as if contempt by an order of the Court.

       7.      I hereby submit to the jurisdiction of the United States District Court for the Eastern

District of New York for the purpose of enforcement of the Protective Orders and waive any and

all objections to jurisdiction and venue.

       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


Date: __________________                      _____________________________________

                                                 3
